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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF RHODE ISLAND

IN RE: KIM ZIEGELMAYER                                                       Chapter 7
               Debtor                                                        BK No: 17-11357
______________________________________                                       A.P. No. 19-01020
CHARLES A. PISATURO, JR. TRUSTEE
                Plaintiff

                   v.

SUNFLOWER REAL ESTATE, LLC;
KIM ZIEGELMAYER, AND LINDA L. GLYNN
            Defendants

                     MOTION TO EXTEND TIME TO FILE ANSWER

      The undersigned needs additional time to meet with his client to discuss the allegations
contained in Linda Glynn’s Cross-Claim so that appropriate answer to the pleadings can be filed.
The undersigned requests that the deadline to file an answer or responsive pleading to the above
Cross-Claim be extended for an additional 15 days. The granting of the instant request will not
be prejudicial to any party in interest.

       WHEREFORE, the undersigned on behalf of Kim Ziegelmayer prays that her motion be
granted and that the Court extend the deadline to file an answer to Linda Glynn’s cross-claim
through October 15, 2019.

                                                          Kim Ziegelmayer,
                                                          By her attorney

                                                          /s/Christopher M. Lefebvre#4019
                                                          PO Box 479
                                                          Pawtucket, RI 02862
                                                          Tel: (401) 728-6060
                                                          Fax: (401) 728-6534
                                                          chris@lefebvrelaw.com

Within fourteen (14) days after service, if served electronically, as evidenced by the certification,
and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by mail or other
excepted means specified, any party against whom such paper has been served, or any other
party who objects to the relief sought, shall serve and file an objection or other appropriate
response to said paper with the Bankruptcy Court Clerk's Office, 380 Westminster Street, 6th
Floor, Providence, RI 02903, (401) 626-3100. If no objection or other response is timely filed,
the paper will be deemed unopposed and will be granted unless: (1) the requested relief is
forbidden by law; (2) the requested relief is against public policy; or (3) in the opinion of the
Court, the interest of justice requires otherwise.
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                              CERTIFICATION OF SERVICE

        I hereby certify that on September 30, 2019, I electronically filed a Motion to Extend
Time to file answer to Linda Glynn’s Cross-Claim Against Kim Ziegelmayer with the Clerk of
the Bankruptcy Court for the District of Rhode Island using the CM/ECF System.
The following participants have received notice electronically: Office of the U.S. Trustee, Peter
J. Furness, Esq., Stacy B. Ferrara, Esq. and Charles A. Pisaturo, Jr., Esq.; and I hereby certify
that I have mailed by United States Postal Service, postage pre-paid, the document and a copy of
the Notice of Electronic Filing to the following non CM/ECF participants:

                                                            /s/Maria J. Ferreira
